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                                          U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York

                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       April 2, 2020

By ECF
The Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
United State Courthouse
40 Foley Square, Courtroom 518
New York, New York 10007

       Re:     United States v. Sayfullo Habibullaevic Saipov, S1 17 Cr. 722 (VSB)

Dear Judge Broderick:

       We write on behalf of the parties pursuant to the Court’s March 18, 2020 order to provide
an update regarding the status of this matter, including potential trial dates. In light of the ongoing
COVID-19 pandemic and the corresponding impact on the Court’s operations, including the
suspension of jury trials until at least June 1, 2020, the parties do not believe that the Court should
set a new trial date at this time. Instead, the parties jointly request that the Court set another
deadline for a joint status update of May 4, 2020.

         With respect to potential trial dates, the Government respectfully submits that the Court
should schedule the trial for approximately four months after the Court’s normal operations
resume, relevant social distancing guidelines are vacated, and any relevant domestic and
international travel restrictions are lifted. The Government believes that four months from that
date will be sufficient time to complete the remaining pretrial matters, including (i) scheduling and
completing depositions pursuant to Rule 15 of the Federal Rules of Criminal Procedure; (ii)
coordinating victims’ and victims’ families travel; (iii) completing preliminary jury selection; and
(iv) filing proposed requests to charge.
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       The Government has conferred with defense counsel and understands that they are not
prepared to make a similar representation regarding the potential trial schedule given the
uncertainty about the overall impact of the pandemic and its effect on the ability of the defense to
prepare for trial. Lastly, in light of the COVID-19 pandemic, the parties agree that the Court
should exclude time in the interests of justice under the Speedy Trial Act pursuant to 18 U.S.C. §
3161(h)(7)(A) through May 4, 2020.1

                                                       Respectfully submitted,
                                                       GEOFFREY S. BERMAN
                                                       United States Attorney


                                                 By:          /s/
                                                       Amanda Houle
                                                       Sidhardha Kamaraju
                                                       Matthew Laroche
                                                       Jason A. Richman
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                                                       (212) 637-2194/6523/2420/2589

cc:    Defense counsel (by ECF)




1
 Chief Judge McMahon’s March 13, 2020 order continuing jury trials scheduled to begin before
April 27, 2020 excluded time only through April 27, 2020. See In re: CORONAVIRUS/COVID-
19 PANDEMIC, 20 Misc. 154, at ¶ 8.
